      Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 1 of 50 PageID #:947




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                Plaintiff,                      )
                                                )
vs.                                             )
                                                )           Case No. 1:12-cr-872
CHERRON MARIE PHILLIPS,                         )
                                                )
                Defendant.                      )

                         COURT’S SENTENCING MEMORANDUM

REAGAN, District Judge:

         On June 16, 2014, after a jury trial, Defendant Cherron Marie Phillips, also known as

“River Tali” and “River Tali Bey,” was found guilty of 10 of 12 charges of retaliating against a

federal judge or federal law enforcement officer by false claim, in violation of 18 U.S.C. § 1521

(Doc. 1). More specifically, Phillips filed false liens and encumbrances against the real and

personal property of numerous federal judges, prosecutors and law enforcement agents.

Sentencing is scheduled for October 14, 2014.

         The Court, as part of its sentencing obligation, is to consider “the nature and

circumstances of the offense.” 18 U.S.C. § 3553(a)(1). Since the offense of conviction generally,

and the sovereign citizen movement in particular, is—unlike a drug or gun case—one with which

the undersigned lacks familiarity, extra-judicial research was initiated and the results presented

in Sections I-III. Section IV discusses the United States Sentencing Guidelines as they may

specifically apply to Defendant Cherron Phillips.




                                          Page 1 of 25
     Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 2 of 50 PageID #:947




                                          I.       Introduction

         In an attempt to understand the relatively new statutory offense, the liens at issue in this

case, as well as the history and characteristics of the defendant, the Court has attempted to

educate itself. See 18 U.S.C. § 3553(a)(1). A review of the history of the 2008 law is offered as

a basis for perspective on the little-known charged crime. Similarly, the information the Court

has gathered regarding the so-called “sovereign citizen” movement is not offered as judicially

noticed facts under Federal Rule of Evidence 201, and is not attributed to Defendant Phillips.

See United States v. Courtland, 642 F.3d 545 (7th Cir. 2011) (recognizing that the Court‟s pre-

sentencing memorandum regarding the offense of dog fighting was not a violation of the

separation of powers, but was entirely appropriate and reflected a respect for the adversarial

process by relating to the parties the Court‟s knowledge about the species of crime). The

following background information particular to Cherron Phillips is offered solely to illustrate

why the Court has had to perform research outside the record of this case.

         In February 2011, a package of documents was mailed to Chief Judge James F.

Holderman in connection with Devon Phillips‟1 criminal case (see Government‟s Exhibit 30).

Among the documents in the package was a “Common Law Bill of Indictment” against Judge

Holderman, purportedly issued under the authority of the “Office of Common Law Sovereign

American Consulate.” The package also included other pseudo-legal pleadings, many

referencing the Uniform Commercial Code (“U.C.C.”).               One document asserts that Judge

Holderman, Judge Joan Humphrey Lefkow (who was presiding over Devon Phillips‟ trial), and

all judicial officers and public officials were divested of their powers in 1795, pursuant to the

Eleventh Amendment.



1
    Devon Phillips is Defendant Cherron Phillips‟ brother.
                                               Page 2 of 25
   Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 3 of 50 PageID #:947




       The liens at issue in Cherron Phillips‟ case were allegedly filed in March 2011 with the

Cook County Recorder of Deeds in retaliation for the federal investigation and prosecution of

Defendant‟s brother. The liens apparently were the culmination of a pseudo-legal process that

began with the “Common Law Bill of Indictment.”

       Each lien is unusual on its face. The liens are captioned and in the form of a “Notice of

Claim of Maritime Lien,” with each federal official named as the encumbered “vessel” (see

Government‟s Exhibits 1-5, 7-8, 10-12). “River Tali” signed and affixed a fingerprint to each

lien, identifying herself as the creditor. According to the documents, each named official owed

Devon Phillips $100 billion.

       Cherron Phillips, in her own name, rather than the alias “River Tali,” eventually

“revoked” the liens (see Government‟s Exhibits 18, 19). Ms. Phillips subsequently sent letters of

apology to five of the affected officials (see Government‟s Exhibits 23-27).         The letters

explained that Phillips had mistakenly listened to “patriot people” regarding how to remedy the

perceived injustice that had occurred to her brother. Among the items seized from Cherron

Phillips‟ home were a “World Passport,” and “Application for Moorish Great Seal Tax ID,

Nationality & Right to Travel Card” (Government‟s Exhibits 35, 37).

       Defendant Phillips‟ initial motion in limine was granted, prohibiting witnesses from using

the terms “domestic terrorist” and “domestic terrorism” at trial (see Docs. 128, 146). However,

Defendant specifically indicated that she had no objection to the terms “sovereign citizen” and

“patriot movement” (see Doc. 128). Nevertheless, at the start of trial, another motion in limine

was granted, barring reference to “sovereign citizens,” “patriot groups,” anti-government groups

and their activities, and the like (see Docs. 151, 156). Thus, the Sovereign Citizen movement did




                                          Page 3 of 25
      Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 4 of 50 PageID #:947




not become an issue at trial, per se, although the unusual nature of the liens was certainly

evident.

          Again, the Court stresses that its investigation into the Sovereign Citizen movement is for

generic informational purposes and should not be construed as being applicable to Cherron

Phillips, who is neither answerable for all the indiscretions described in this memorandum that

led to the passage of 18 U.S.C. § 1521, nor those committed by other followers of the Sovereign

Citizen movement.

                                  II.     The History of 18 U.S.C. § 1521

          Congress passed the Court Security Improvement Act of 2007 in order to “improve

judicial security for court officers and safeguard judges and their families,” 2 specifically by

“help[ing] ensure that the dedicated women and men of our judiciary have the resources,

security, and independence necessary to fulfill their crucial responsibilities.” 3 The bill was

proposed in response to the murder of United States District Judge Joan Humphrey Lefkow‟s

mother and husband in 2005,4 the murder of a state judge, a court reporter, and a sheriff‟s deputy

at a courthouse in Atlanta less than two weeks later, and the murder of another state judge in

Nevada in 2006, among other incidents.5 The record suggests that the bill passed both houses of

Congress without much substantive opposition—passing by a vote of 97-0 in the Senate.6




2
    H.R. REP. NO. 110-218, at 8 (2007).
3
    S. REP. NO. 110-042, at 2 (2007).
4
    It is a cruel irony that Judge Lefkow was the target of one of Phillips‟ liens in this case.
5
    H.R. REP. NO. 110-218, at 8-9, S. REP. NO. 110-042, at 2.
6
    153 CONG. REC. S15789 (daily ed. Dec. 17, 2007) (statement of Sen. Leahy).


                                               Page 4 of 25
      Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 5 of 50 PageID #:947




          The statutory offense at issue in this case, 18 U.S.C. § 1521, was only one small part of a

larger bill. This section, titled “Retaliating against a Federal judge or Federal law enforcement

officer by false claim or slander of title,” states:

          Whoever files, attempts to file, or conspires to file, in any public record or in any
          private record which is generally available to the public, any false lien or
          encumbrance against the real or personal property of an individual described in
          section 1114, on account of the performance of official duties by that individual,
          knowing or having reason to know that such lien or encumbrance is false or
          contains any materially false, fictitious, or fraudulent statement or representation,
          shall be fined under this title or imprisoned for not more than 10 years, or both.

          The bulk of the Court Security Improvement Act focuses on the physical safety of judges

and judicial employees. Due to the lack of substantive opposition to the bill and the anomalous

subject matter of the false lien provision, the record provides little insight into Congress‟s

purpose in enacting 18 U.S.C. § 1521. The House Report states that the section was “intended to

penalize individuals who seek to intimidate and harass Federal judges and employees by filing

false liens against their real and personal property.”7 Testimony in a hearing on the bill used

substantially similar language, noting that the section was considered necessary due to “members

of the federal judiciary [being] victimized by persons seeking to harass or intimidate them by the

filing of false liens against the judge‟s real or personal property.”8 Generally, these liens were

intended to harass a judge who presided over a case involving the filer, a family member, or an

acquaintance. 9 In other cases, they were filed to harass a judge against whom the filer had




7
    H.R. REP. NO. 110-218, at 17 (2007).
8
  Hearing Before the Subcommittee On Crime, Terrorism, and Homeland Security of the
Committee of the Judiciary of the House of Representatives on H.R. 660. 110th Cong. 50 (2007)
(statement of Judge David B. Sentelle on behalf of the Judicial Conference of the United States).
9
    Id.


                                              Page 5 of 25
      Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 6 of 50 PageID #:947




initiated a civil action.10 At the time of passage, these false filings were “most prevalent in the

state of Washington and other western states,”11 but had been seen throughout the country, and

Canada.12

           While the congressional record provides sparse comment on the history behind Section

1521, national case law shows a long history of retaliatory liens filed against government

officials. These cases range from at least the early 1980‟s until today,13 and show that false liens

are commonly filed against I.R.S. employees, 14 judges, 15 and other government officials, 16

generally by those who claim that the income tax is illegitimate or who consider themselves

“sovereign citizens.” By 1995, there was no county in the state of Washington “without at least

one false lien filed against a public official.” 17 Between 1995 and 1999, 27 states enacted

statutes intended to prevent these liens from being filed or from having any effect.18 These




10
     Id.
11
     Id.
12
     Meads v. Meads, 2012 ABQB 571 (Can.).
13
  See, e.g., United States v. Williamson, 746 F.3d 987 (10th Cir. 2014); United States v. Hart,
545 F.Supp 470 (D. N.D. 1982).
14
  See, e.g., Williamson, 746 F.3d at 989; Ryan v. Bilby, 764 F.2d 1325 (9th Cir. 1985); United
States v. Van Dyke, 568 F.Supp. 820 (D. Or. 1983); Hart, 545 F.Supp. at 470.
15
     United States v. Reed, 668 F.3d 978, 981 (8th Cir. 2012).
16
     See, e.g., Johnson v. United States, 2013 U.S. Dist. LEXIS 56785 (S.D. Ill. Apr. 20, 2013).
17
  Robert Chamberlain and Donald P. Haider-Markel, “Lien on Me”: State Policy Innovation in
Response to Paper Terrorism, 58 AMERICAN RESEARCH QUARTERLY 449, 455 (2005).
18
     Id. at 450.


                                             Page 6 of 25
   Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 7 of 50 PageID #:947




statistics show the widespread nature of the problem Congress addressed when it enacted Section

1521.

        Since its enactment, two appellate courts have dealt with cases centering on Section

1521. United States v. Hoodenpyle, 461 Fed.Appx. 675 (10th Cir. 2012), and United States v.

Reed, 668 F.3d 978 (8th Cir. 2012), considered what types of actions can be considered a “false

[or fictitious] lien or encumbrance against … real or personal property” under the statute. In

Hoodenpyle, the defendant was assessed over a million dollars in unpaid taxes, and filed a

“Notice of Equity Interest and Claim” in retaliation against the I.R.S. officer tasked with

collecting the money. 461 Fed.Appx. at 676. He proceeded to argue that this was not a “lien or

encumbrance” as defined by the statute, but rather that it “was merely a „claim‟ or „notice‟ that

stated a „belief,‟ ” and never asserted that the I.R.S. officer actually owed him anything. Id. at

677. Based on the language of the Notice, which stated that Hoodenpyle “claimed an interest, if

not all interest in the property described,” and the ensuing confusion actually experienced by a

title examiner, the court found that there was sufficient evidence for a jury to consider the Notice

a “lien or encumbrance” under Section 1521. Id. at 678.

        In Reed, decided two days after Hoodenpyle, the Eighth Circuit completed a more

thorough examination of the statute in an attempt to answer the same question: whether a

particular type and format of filing could suffice as a lien or encumbrance against real or

personal property. Davis, one of the defendants, filed a U.C.C. financing statement against

Judge Daniel Hovland in retaliation for his failure to dismiss a firearms charge pending against

the second defendant, Reed. 668 F.3d at 981. The financing statement listed Hovland and

United States Attorney Lynn Jordheim as debtors to the tune of $3.4 million, with Davis as the

secured party. Id. Davis unsuccessfully argued that the government failed to prove a violation



                                           Page 7 of 25
   Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 8 of 50 PageID #:947




of Section 1521 because “the UCC-1 financing statement listed no „real or personal property‟ of

Judge Hovland as collateral.” Id. at 982.

       Both “lien” and “encumbrance” have accepted legal definitions. A “lien” is “a property

right, usually a legal right or interest that a creditor has in a debtor‟s property, whether perfected

or merely claimed.” Id. Similarly, an “encumbrance” is a claim or liability that attaches to

property, usually though not always real property.” Id. Neither is created by the act of filing, but

rather the filing is a method of “perfecting” the lien or encumbrance claim against the rights of

the other parties with claims to the property. Id. at 982-83. Based on these definitions, the

Eighth Circuit determined that Congress only intended Section 1521 to apply to “filings that

harass by claiming rights to the property of public officials,” and not to other types of filings that

may harass public agencies or officials. Id. at 983. Further analysis to determine if a filing fits

within this framework depends on what type of lien or encumbrance was filed in a particular

case, and as Hoodenpyle suggests, there are a wide array of documents that could fit.

       The U.C.C.-1 financing statement, which Reed referred to as a lien, is a contractual lien

under the meaning Section 1521. Id. The collateral that Reed listed, however, did not fit that

seen on a typical U.C.C. filing, and included the case information for a case being tried by

Jordheim in front of Judge Hovland, and a supposed debt of $3.4 million, among other things.

Id. at 984. This incoherence was irrelevant, the Eighth Circuit ruled, because Section 1521

merely is “triggered by the filing of a false or fictitious lien, whether or not it effectively impairs

the government official‟s property rights and interests.”         Id. at 84-85.    The statute deals

specifically with false and fictitious filings. These filings are usually legally insufficient by their

definition, so that cannot itself be a defense.




                                             Page 8 of 25
   Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 9 of 50 PageID #:947




       By combining the history of false liens prior to the enactment of Section 1521, the slim

legislative history on the section and the wider bill it was a part of, and the few cases that have

gone through the circuits since its enactment, a clearer picture of the purpose and idea of Section

1521 begins to appear. For at least three decades, public officials have been harassed with false

liens that, although clearly legally insufficient once examined, create inconveniences and delays

in the sale or acquisition of property. In response to this problem, the Court Security

Improvement Act of 2007 was concerned not only with protecting the physical safety and

autonomy of judges and public officials, but also, through Section 1521, with protecting their

financial safety and autonomy.         Hoodenpyle and Reed have created a clear but wide

interpretation of the law that applies to any retaliatory financial harassment that harms those

public officials it is directed at. Furthermore, the Tenth Circuit recently rejected a “good faith”

defense that was premised upon the “knowing or having reason to know that such a lien or

encumbrance…” provision in Section 1521. See United States v. Williamson, 746 F.3d 987 (10th

Cir. 2014). A defendant can be guilty even if he honestly believed the lien was false, as long as

that belief was not reasonable—even if an expert testifies that the defendant suffered from a

delusional disorder that prevented him from abandoning his beliefs when confronted with

overwhelming evidence that the belief was incorrect. Id. at 994.

       It is in this context that the present case arose.

                              III.    The Sovereign Citizen Movement

       The first case prosecuted using 18 U.S.C. § 1521 was United States v. Petersen, Case No.

09-cr-87-DWF-AJB (D. Minn. filed April 8, 2009).            Petersen characterized himself as a

“sovereign citizen” and he was a founding member of the Montana Freemen. In the 1990‟s, the

Freemen claimed a $77 million lien against a federal judge and then wrote phony checks based



                                             Page 9 of 25
     Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 10 of 50 PageID #:947




on a scheme built around the lien. They intimidated creditors who did not honor the checks. In

1996, the arrest of Petersen and other leaders triggered an 81-day standoff with the F.B.I. From

prison, Petersen targeted three judges with liens and offered a bounty for their arrest.19 His case

was never reviewed on appeal, but in the district court he unsuccessfully pursued a defense

premised upon his “sovereign citizen” beliefs. See United States v. Petersen, __F.Supp.2d __,

2009 WL 3062013 (D. Minn. 2009).           Ultimately, Petersen was sentenced to 90 months‟

imprisonment on each of six counts of violating 18 U.S.C. § 1521, sentences to be served

concurrently. Petersen, Case No. 09-cr-87-DWF-AJB, Doc. 92.

         A. The Origins of the Ideology

         The Sovereign Citizen movement is a complex ideology of interconnected beliefs.

Although the movement has received some media attention in recent years, this attention tends to

focus on violent outbursts from a certain subset of followers. 20 This is one aspect of the

movement, but focusing solely on it fails to get at the heart of the basic beliefs the followers

hold, and ignores the nonviolent, but highly obstructionist, tactics that most followers use to

inconvenience and interrupt the courts and government officials. Their fascination with the

U.C.C., admiralty law, and the filing of liens may seem arbitrary at first glance, but is actually

part of a comprehensive interpretation of various historical events which, while wrong, form the

basis of the entire movement, and explain the importance of these fascinations. This section of



19
     See http://www.fbi.gov/Minneapolis/press-release/2010/mp040610 (accessed Sept. 24, 2014).
20
   See, e.g., Daniel Hernandez & Joseph Langdon, Federal rangers face off against armed
protesters in Nevada „range war,‟ THE GUARDIAN, Apr. 13, 2014, available at
http://www.theguardian.com/world/2014/apr/13/nevada-bundy-cattle-ranch-armed-protesters;
Brian Bennet, „Sovereign citizen‟ movement now on FBI‟s radar, LOS ANGELES TIMES, Feb. 23,
2012, available at http://articles.latimes.com/2012/feb/23/nation/la-na-terror-cop-killers-
20120224 (accessed Sept. 25, 2014).


                                          Page 10 of 25
     Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 11 of 50 PageID #:947




the memorandum discussing the origins and history of the Sovereign Citizen movement and its

specific beliefs and practices is generic; that is, the Court does not suggest that each and every

belief or action is applicable to the present case, which has its own history and fact pattern.

          The roots of the Sovereign Citizen movement are found in a number of earlier

movements, primarily the Posse Comitatus of the 1970‟s, and the Common Law movement of

the 1980‟s.21 Both of these movements were tinged with racism, which was overt in the Posse

Comitatus, but more latent and varying within the wider Common Law movement.22 The Posse

Comitatus failed to achieve a widespread following, perhaps due in part to the racist themes, but

by the 1980‟s, the Common Law movement found greater success. A major contributing factor

to this success was the Farm Crisis of the 1980‟s, an economic recession that forced farmers to

sell their land, machinery, and homes to pay off debts accrued during an economic bubble in the

1970‟s.23 After losing everything, concepts that had once sounded crazy when posited by the

Posse Comitatus a decade earlier now made more sense.               Understanding these ideas as

interpreted by the Common Law movement is key to understanding the present Sovereign

Citizen movement because, while many of the racial undertones have been removed or muted,

the basic framework remains the same.

          Two actual historical events and a myth based on a third historical event form the

framework for the Common Law ideology and the bedrock of the modern Sovereign Citizen

movement. The first historical event is the passage of the Fourteenth Amendment in 1868. In



21
     Chamberlain, supra, at 450.
22
  Susan P. Koniak, When Law Risks Madness, 8 CARDOZO STUDIES IN LAW AND LITERATURE
65, 76-77 (1996).
23
     Id. at 69.


                                           Page 11 of 25
     Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 12 of 50 PageID #:947




the Common Law narrative, the Amendment “created a new and inferior form of citizenship,

federal citizenship, to be contrasted with sovereign, state citizenship, recognized by the original

(and valid) Constitution” 24 This bifurcation of citizenships has massive implications for the

rights of federal citizens, on the one hand, and sovereign citizens on the other.

           Federal citizens are subject to the jurisdiction of both the federal government the federal

courts, while sovereign citizens are not.25 Sovereign citizens also believe that only they receive

the full protections of the Bill of Rights. In their view, the Fourteenth Amendment, rather than

extending the protections of the Bill of Rights to prevent intrusion by the states, instead limits

“federal citizens to protections against interference with „due process‟ and denials of „equal

protection of the laws,‟ which describes a much more limited form of freedom.”26 Sovereign

citizenship “belongs to group members as a matter of birthright, guarantees one freedom from

tyranny (the jurisdiction of the federal and state governments and their illegitimate courts), and

recognizes one‟s God-given inalienable rights.”27 In contrast, Fourteenth Amendment citizenship

is “a badge of slavery, made for lesser beings, specifically African-Americans and others

considered non-white.”28 For current sovereign citizens, this distinction remains, although the

racial components have mostly been subdued, allowing for African-American adherents, or at

least the co-opting of Sovereign Citizen/Common Law principles by African-Americans.




24
     Id. at 82.
25
     Id.
26
     Id.
27
     Id. at 76.
28
     Id. at 77.

                                             Page 12 of 25
     Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 13 of 50 PageID #:947




           The second important historical event is actually a series of actions taken during the

Great Depression.        In 1933, President Roosevelt proclaimed a state of emergency, which

Common Law movement adherents claim was declared unlawfully, has never been rescinded,

and continues to suspend the people‟s rights to this day.29 This problem was exacerbated in 1938

by the Supreme Court‟s decision in Erie Railroad Co. v. Tompkins, 304 U.S. 64 (1938), which

ruled that there is no federal common law.30 As with the Fourteenth Amendment, Common Law

adherents understand this statement differently than the mainstream legal community.             To

judges, lawyers, and academics, Erie confirms the right of state courts to create their own

common law without federal court intervention. To Common Law adherents, it represents the

death of the common law, since allowing states to define their own law is not “common” as they

understand the term, which is as “a type of natural law ordained by God.”31

           The facts of Erie and the Supreme Court‟s reasoning are also important, however, and

form the basis of the movement‟s fascination with admiralty law and glorification of the U.C.C.

To the movement‟s followers, the basic facts of that case are as follows:

           [T]he state law, which triumphed in [the] case, limited the railroad‟s duty of care
           to those with whom the railroad was in privity of contract. When injured,
           Tompkins had been walking beside the tracks, a pedestrian not a passenger, and
           thus someone not in privity of contract with the railroad. In the Common Law
           world the result in Erie (state privity of contract rule governs) demonstrates that
           Erie substituted contract law for the Common Law, which at the time imposed a
           duty of care toward foreseeable others, like the pedestrian Tompkins.32




29
     Id. at 79.
30
     Id. at 84.
31
     Id.
32
     Id. at 85.


                                             Page 13 of 25
     Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 14 of 50 PageID #:947




Importantly, this interpretation means that contract and commercial law have usurped the role of

the common law in the federal courts. The Federal Rules of Civil Procedure were adopted in the

same year that Erie was decided, and abolished the distinction between actions at law and suits

in equity.33 Adherents understand “actions at law” to be commensurate to “common law,” but

since the Supreme Court abolished the common law, suits in equity must now be treated as if

they were admiralty suits, the only other type of jurisdiction available.34 The combination of

Erie and the adoption of the Federal Rules explains why sovereign citizens often claim that

federal courts can only exercise admiralty jurisdiction, and why sovereigns sometimes file

retaliatory maritime liens.35

           As noted, the contract-based reasoning in Erie also explains sovereign citizens‟ insistence

on using phrases and forms from the U.C.C. in all their dealings with the government, in addition

to their renunciation of anything that could be viewed as a contract with the government. Since

sovereign citizens perceive that the government‟s jurisdiction is now based on contract law,

instead of on the Constitution, they also believe that the U.C.C. is, in essence, the central text of

American law. Section 1-207 of the U.C.C. is especially important; it is intended for situations

“where one party is claiming as of right something which the other believes is unwarranted.”36

Sovereign citizens believe the government is claiming a right that is unwarranted. The

government is “claiming a right to impose its extra-constitutional (statutory, contract-based,

admiralty) law on the Common Law [sovereign citizen] community,” and the community


33
     Id.
34
     Id. at 86.
35
     Id.
36
     U.C.C. § 1-207, Comment.


                                             Page 14 of 25
     Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 15 of 50 PageID #:947




believes the government lacks that jurisdiction. 37 Under Section 1-207, if a party expects a

pending dispute but would like to continue performance of the contract, they should go “ahead

with delivery, acceptance, or payment „without prejudice,‟ „under protest,‟ „under reserve,‟ „with

reservation of all our rights,‟ and the like.”38 This is why sovereign citizens commonly write

those phrases on government documents, drivers‟ licenses, and anything else that they perceive

as an offer of a contract by the government. Sovereign citizens believe that U.C.C. § 1-207

removes them from the state‟s law, but it is U.C.C. § 1-103 that makes them believe the state

must now follow their law instead. U.C.C. § 1-103 provides that “contracts are subject to

general legal principles of common law where that law is not specifically displaced by the

U.C.C.”39 To sovereign citizens, this means that when they opt out of the state law under U.C.C.

§ 1-207, then U.C.C. §1-103 requires the state to return to using the common law when dealing

with them.

          This myth at the heart of the “redemption theory” adopted by many present day sovereign

citizens is that the United States government went bankrupt and began using different citizens as

collateral in trade agreements with foreign governments.40 The historical basis for this theory is

the federal government‟s abandonment of the gold standard in 1933. Supposedly, without gold

to back its money, the government instead uses its citizens as collateral—“so-called

“strawmen”—so it can borrow money. The government purportedly maintains secret treasury



37
     Koniak, supra, at 90.
38
     U.C.C. § 1-207, Comment.
39
     Koniak, supra, at 91.
40
    Sovereign Citizens: An Introduction for Law Enforcement, 1 (Nov.                       2010),
http://info.publicintelligence.net/FBI-SovereignCitizens.pdf (accessed July 16, 2014).


                                           Page 15 of 25
     Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 16 of 50 PageID #:947




accounts, created at birth using a person‟s social security number.41 These accounts are referred

to as “strawman accounts,” and supposedly each contains hundreds of thousands of dollars, if not

millions.42 Using a U.C.C. filing statement, a sovereign citizen can access the funds in his secret

account. 43 By filing various documents—usually provided by a “guru” or “expert” of some

kind—sovereign citizens believe that they can separate the “strawman” from their “flesh and

blood” natural body, and thereby avoid paying taxes and, in some cases, avoid other legal

liability. 44 This is the sort of theory relied upon by Daniel Ernest Peterson (the first to be

prosecuted under 18 U.S.C. § 1521) and the Montana Freeman, discussed earlier.

           The path to becoming a “sovereign citizen” is relatively complicated. The prospective

sovereign must file a “Quiet Title Action” in a Common Law court, and must then appear in that

court and present a birth certificate that shows they were born in a state of the union. 45

Washington, D.C., is considered to be under the legitimate control of the federal government, so

anyone born there cannot be a sovereign citizen.46 The symbolism in these actions is strong, and

explains the importance of liens as retaliatory or offensive weapons. Normally, a quiet title

action is brought to remove any cloud on the title of land, whereas sovereign citizens use it to



41
   F.B.I., Common Fraud Schemes, http://www.fbi.gov/scams-safety/fraud/fraud#redemption
(accessed Aug. 8, 2014).
42
  NATIONAL ASSOCIATION OF SECRETARIES OF STATE, State Strategies to Subvert Fraudulent
Uniform Commercial Code (UCC) Filings: A Report for State Business Filing Agencies (April
2014).
43
     Id.
44
     F.B.I., Common Fraud Schemes, supra.
45
     Koniak, supra, at 68.
46
     Id.


                                           Page 16 of 25
     Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 17 of 50 PageID #:947




remove any supposed cloud on the title of their body. 47 Filing liens against anyone who

questions or denies them the rights they believe they have is, therefore, an act of empowerment

and an exercise of what they perceive to be their inalienable rights. Additionally, filing liens is a

way for sovereign citizens to impose a real penalty within our system, even if that penalty

ultimately means nothing once examined in depth.48

           B. Ideology in Action

           Understanding the bases of what sovereign citizens believe is necessary to understanding

the outcomes and actions that their beliefs cause. Nonetheless, the current Sovereign Citizen

movement is difficult to simply define. The F.B.I. succinctly states that “[s]overeign citizens

believe the government is operating outside of its jurisdiction and generally do not recognize

federal, state, or local laws, policies, or governmental regulations.”49

           To a sovereign citizen, “the income tax is unconstitutional; social security numbers are a

mark of second-class citizenship; state laws requiring licenses to drive a motor vehicle are a

violation of their right to travel; and federal and state court jurisdiction over Sovereign Citizens

is invalid.”50 As a result, many sovereign citizens do not pay taxes; most renounce their social

security cards, which are a “contract” with the government, and renunciation of any other

“contracts” (welfare payments, etc.) is also common.51 As already mentioned, this also applies

to “contracts” with state governments, so many sovereigns will renounce their driver‟s license
47
     Id.
48
     Id. at 92.
49
    “Sovereign Citizens: An Introduction for Law Enforcement,” (Nov.                          2010),
http://info.publicintelligence.net/FBI-SovereignCitizens.pdf (visited July 16, 2014).
50
     Koniak, supra, at 73.
51
     Id. at 89.


                                             Page 17 of 25
     Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 18 of 50 PageID #:947




and license plates.52 If a sovereign citizen wants to file a federal lawsuit, they generally will only

file it in the D.C. District Court, since they believe that D.C. is the only legitimate seat of federal

power.53 Each of these actions, of course, has practical ramifications. Most make it more likely

that sovereign citizens will come into contact with the government, either because they did not

pay their taxes, or they are driving around without license plates, or any number of other actions

that draw the attention of officials.

           The current Sovereign Citizen movement is related to, and interconnected with, various

other contemporary movements that share many of the same beliefs, although each adds and

subtracts particular details as best suits their particular ideology. In a comprehensive decision, a

Canadian court characterized the adherents to these various movements as “Organized

Pseudolegal Commercial Argument” [O.P.C.A.] litigants.54 The movements in Canada differ

only in negligible ways from the movements in the United States, and many of the Canadian

litigants cite United States law and sources (constitutional amendments and the U.C.C.) in

Canadian courts.55 This is a particularly fruitless exercise, of course, but is only marginally less

likely to be successful than other O.P.C.A. strategies. Many followers may participate in or

otherwise follow any number of these movements at once, and some blend details from each into

their own beliefs. Some of these related movements are: Detaxers, Freemen-on-the-Land,

Moorish law, and others.56 At present, there are an estimated 300,000 sovereign citizens.57



52
     Id.
53
     Id. at 68.
54
     Meads, 2012 ABQB at ¶ 1.
55
     Id. at ¶ 141.
56
     Id. at ¶ 1.
                                            Page 18 of 25
      Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 19 of 50 PageID #:947




          The Moorish Science Temple, for example, has some members who have adopted the

beliefs and tactics of the Sovereign Citizen movement, while other Moors58 categorically reject

the Sovereign Citizen movement‟s principles.59 The Moorish Science religion was establish in

American in the early twentieth century, based on principles of black nationalism and the belief

that members have rights that predate the Constitution and are derived from God‟s law. 60

However, according to Brother R. Jones Bey, grand sheik of the Moorish Science Temple,

sovereignty is not a tenet of the true Moorish Science religion.61

          One sovereign citizen convicted under a state law similar to 18 U.S.C. § 1521

characterized the filing of liens against officials as “death by a thousand paper cuts.” 62 In

response to the growing use of this form of “paper terrorism,” the National Association of

Secretaries of State and the International Association of Commercial Administrators have

formed a joint task force to deal with the bogus filings which they identify as problematic for the

following reasons:63




57
     NATIONAL ASSOCIATION OF SECRETARIES OF STATE, supra.
58
    Adherents of this religion refer to themselves as “Moors” or “Asiatics.”
http://www.moorishsciencetempleofamericainc.com/moorishhistory.html (accessed Sept. 25,
2014).
59
   Travis Gettys, Sovereign Moors: An anti-government obsession spreads to the black
community, Aug. 26, 2014, http://www.rawstory.com/rs/2014/08/sovereign-citizens-express-
fears-of-lawlessness-by-rejecting-laws (accessed Sept. 25, 2014).
60
     The Nation of Islam broke off from the Moorish Science Temple. Id.
61
     Gettys, supra.
62
     Erica Goode, In Paper War, Flood of Liens is the Weapon, NEW YORK TIMES, Aug. 23, 2013.
63
     NATIONAL ASSOCIATION OF SECRETARIES OF STATE, supra.

                                           Page 19 of 25
     Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 20 of 50 PageID #:947




           Removing a bogus lien from the public registry can be a costly and time-
           consuming process. In most states, this action requires a court order. The legal
           expenses that are involved can run thousands of dollars, and the process can take
           months, or even years. Restoring damaged credit histories can take even longer.

                                              ***
           Although they are not legally effective, victims may spend years battling their
           false claims, and some may not even realize they have been targeted until they
           attempt to conduct a property transaction, or open a line of credit.

                                              ***
           Although the filing of a termination statement will indicate in the public record
           that the unauthorized financing statement is not valid, it does not remove the
           financing statement from the registry.64

           A small minority of sovereign citizens have turned to violence. In the first decade of this

century, “lone-offender sovereign citizen extremists” killed six law enforcement officers. 65

Terry Nichols, a co-conspirator in the bombing of the Murrah Federal Building in Oklahoma

City counted himself a sovereign citizen. 66 As mentioned before, Montana Freeman Daniel

Ernest Petersen was a sovereign citizen. The F.B.I. considers sovereign citizens a domestic

terrorist movement or threat.67

                                IV.     The U.S.S.G. and the Case at Bar

           The particular circumstances of this case do not appear to be adequately addressed in the

United States Sentencing Guidelines (“U.S.S.G.” and/or “Guidelines”).68 The court, post-Booker


64
     Id.
65
  F.B.I., COUNTERTERRORISM ANALYSIS SECTION, Sovereign Citizens: A Growing Domestic
Threat to Law Enforcement, Sept. 2011, available at http://www.fbi.gov/stats-
services/publications/law-enforcement-bulletin/september-2011/September-2011-leb.pdf
(accessed Sept. 25, 2014).
66
     Goode, supra.
67
  F.B.I., COUNTERTERRORISM ANALYSIS SECTION, Sovereign Citizens, supra.
68
  United States v. Booker, 543 U.S. 220 (2005), rendered the Guidelines merely advisory. As a
result, Guidelines “departures” are obsolete, as is the need for advance notice of departure from
the applicable Guidelines sentencing range, as required under Federal Rule of Criminal
                                             Page 20 of 25
  Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 21 of 50 PageID #:947




is not obligated to place the parties on advanced notice of its intention to depart from the

applicable Guidelines sentencing range. Despite that, since the Court is considering a sentence

significantly higher than the range probation has calculated, the Court chooses to share its

thinking.

       In particular, the Court is contemplating the applicability of a 2-level enhancement under

Section 3C1.1 for obstructing of impeding the administration of justice because of the complaint

Phillips served upon the undersigned district judge and prosecuting Assistant United States

Attorney Stump on May 23, 2014, which also name several additional federal public officials

(Attachment A). An additional 2-level enhancement could be applied, in that a complaint was

served upon two officials. See United States v. James, 328 F.3d 953, 956-57 (7th Cir. 2003)

(applying a 3C1.1 enhancement for harassing mailings and filings during trial).           In the

alternative, an upward variance from the advisory sentencing range may be the correct method of

accounting for some or all of those circumstances. See United States v. O‟Georgia, 569 F.3d

281, 291-94, 296 (6th Cir. 2009) (discussing both 3C1.1, 5K2 and § 3553(a)). That the lawsuit

has never been formally filed or may not have been served on the other named defendants is of

no moment. “What is more, the enhancement is authorized not only for successful obstruction

but also for any attempt to obstruct or impede the administration of justice. U.S.S.G. § 3C1.1. A

defendant who commits perjury at trial does not evade the enhancement just because the jurors

see through the façade. Likewise with unsuccessful attempts to intimidate.” James, 328 F.3d at

957.




Procedure 32(h). United States v. Brown, 732 F.3d 781, 785-86 (7th Cir. 2013). The departure
provisions within the Guidelines may still influence the Court by way of analogy when assessing
the Section 3553(a) sentencing factors. Brown, 732 F.3d at 736.


                                         Page 21 of 25
     Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 22 of 50 PageID #:947




         An upward variance, above the advisory Guidelines range, may also be warranted,

considering the large number of liens involved. In considering the advisory sentencing range,

Guidelines Section 2A6.1 does not group the multiple offenses under Section 3D1.2, 69 and

Section 2A6.1(b)(2)(B) affords a two-level increase if the offense involved “more than two false

liens.” Ten to12 liens were involved in this case. See United States v. Johnson, 756 F.3d 532,

540 (7th Cir. 2014) (despite acquittal, if conduct was proved by a preponderance of the evidence,

it may be considered for sentencing purposes).

         Moreover, the Court identifies the following as potentially aggravating factors for

consideration.

         A. The Status of the Victims

         While the Guidelines suggest a 6-level increase under 3A1.2(b) entitled “Official

Victim,” no distinction is made for the differing statuses of the victims. For example, Defendant

filed liens against the Chief Judge of the United States District Court for the Northern District of

Illinois, as well as its United States Attorney, the Assistant United States Attorney prosecuting

the case, and the District Judge assigned to it. Additionally, two Magistrate Judges, the Clerk of

the Court, four task force officers, and a special agent were targeted.

         The Court believes targeting individuals of the statuses of Chief Judge, District Judge,

United States Attorney, Magistrate Judge or Assistant United States Attorney is an aggravating

factor because:

         (1) The higher a person‟s status, the more visible they are and, therefore, the more
             likely they will be targeted, so there is a concomitant need to deter retaliations
             against them;



69
  Under U.S.S.G. § 3D1.2, a combined upward offense level relative to five or more units
warrants a 5-level increase, consequently an upward departure was foreseen under Application
Note 4, when the Guidelines were mandatory.
                                            Page 22 of 25
  Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 23 of 50 PageID #:947




       (2) Because they have discretionary authority, they may be more likely targets as
           people who can be subject to intimidation so there is a concomitant need to
           deter retaliation against them; and

       (3) Retaliation against them is more likely to disrupt the government functions in
           which they operate so there is a concomitant need to deter retaliations against
           them.

       The Guidelines consider a victim‟s status, in that retaliating against individuals with

exceptionally high authority (such as the President or Vice President) may warrant an upward

departure under the Guidelines because of the potential disruption of governmental functions. In

the instant case, Phillips‟ misconduct before the undersigned‟s predecessors resulted in her pro

se status being revoked. Although the Court does not consider the following a disruption that

can affect Cherron Phillips‟ sentence in this case, it is worth noting that, as a result of her

misconduct in her brother‟s federal drug case in this district, the Executive Committee that

administers policy in the Northern District of Illinois went to the extraordinary step of entering

an order limiting Cherron Phillips‟ access to the courthouse and restricting her filings (see

Attachment B). Thus, Phillips was aware her conduct could have serious consequences.

       B. Acquitted Conduct

       Although Defendant was acquitted on counts 6 and 9 involving task force officers

Thompson and Sanchez, respectively, the Court concludes those counts were proven by a

preponderance of the evidence. The jury sent a question to the Court, during its deliberations,

reading as follows:

       Do the federal task force officers that were deputies, where no longer deputies
       when the lien‟s were filed, are they considered federal officers, after their federal
       term is over?

[sic] (Doc. 179). Consequently, there are 12 rather than 10 victims.




                                          Page 23 of 25
   Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 24 of 50 PageID #:947




        It is clear the jury‟s decision to acquit Phillips on counts 6 and 9 was based upon the

erroneous belief that a conviction regarding task force officers Thompson and Sanchez could not

occur unless they were federal officers at the time the liens were filed, which they were not. The

jury instruction did not overtly cover this point so the jury‟s concern is understood.

        C. Collateral Damage

        In all, Phillips filed 12 bogus liens with the Cook County Recorder of Deeds, each

seeking $100 billion to be paid to her brother. Those liens will remain impressed forever. When

one of the victims attempts to sell their real estate, they are going to have to satisfy a buyer along

with their title company that the liens ought to be held for naught. Eventually, they will prevail,

as the liens are impotent, but that will not occur without some legal handiwork and expense and

may necessitate a suit to quiet title.

        Because Defendant Phillips twice refused to cooperate with the Probation Office in the

preparation of the presentence report, the Court cannot at this juncture identify any mitigating

sentencing factors or circumstances except that Defendant has a minor child. Phillips‟ attempted

mea culpa to five of the victims (the four judges and the clerk) by way of letters titled “Forgive

Me” and dated February 21, 2013, rings hollow in light of her subsequently serving a false

lawsuit against the undersigned, and the Assistant United States Attorney assigned to this case.

                                          V.      Conclusion

        The statute at issue in this case, 18 U.S.C. § 1521, was enacted in response to a spate of

false liens filed against government officials. Many of these liens were filed by followers of the

Sovereign Citizen movement, who hold a complicated set of beliefs about the illegitimacy of the

federal government, and use the filing of liens to retaliate or injure those who deny the rights

they believe they are due as sovereign citizens. The Court does not attribute the history of



                                           Page 24 of 25
     Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 25 of 50 PageID #:947




transgressions leading up to the enactment of Section 1521, or the history of actions of sovereign

citizens, to Ms. Phillips. Instead, the Court uses this information to gain appropriate perspective

on the sentencing task of properly weighing all of the factors set forth in 18 U.S.C. § 3553(a),

which include, in particular, the nature and circumstances of the offense, promoting respect for

the law, punishment and deterrence. See 18 U.S.C. § 3553(a)(2)(A), (B).

         While the undersigned never finds any sentencing to be “easy,” it is “easier” to sentence a

defendant charged with a crime the Court understands. For example, economic crimes may be

based upon need or greed. Drug offenses may be motivated by greed or addictions. Now that

the Court has concluded its research and gained some perspective, Cherron Phillips‟ crime of

retaliating against federal officials by filing false liens appears to have been based upon

misguided beliefs and the underlying tortured logic, as related above.

         This memorandum, the comments reflecting sentencing issues under consideration, and

the attached chart reflecting possible Guidelines calculations 70 (Attachment C) are offered in

advance of the sentencing hearing with the aforementioned sentencing obligations and concerns

in mind, and in an effort to ensure a thorough and efficient sentencing hearing.

         IT IS SO ORDERED.

         DATED: October 2, 2014
                                                      s/ Michael J. Reagan
                                                      MICHAEL J. REAGAN
                                                      UNITED STATES DISTRICT JUDGE




70
  The term of supervised release and the fine are not addressed, except to note here that the
mandatory supervision period will be consistent with U.S.S.G. § 5D1.2(a)(2), and the fine will be
prescribed consistent with 18 U.S.C. § 3571(b) and U.S.S.G. § 5E1.2(c)(3).
                                           Page 25 of 25
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 26 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 27 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 28 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 29 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 30 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 31 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 32 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 33 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 34 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 35 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 36 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 37 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 38 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 39 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 40 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 41 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 42 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 43 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 44 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 45 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 46 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 47 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 48 of 50 PageID #:947
Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 49 of 50 PageID #:947
  Case: 1:12-cr-00872 Document #: 202 Filed: 10/02/14 Page 50 of 50 PageID #:947




                    US v. Cherron Marie Phillips, Case No. 12-872 (NDIL)
          ADVISORY GUIDELINES CALCULATIONS UNDER CONSIDERATION

       Convicted of 10 Counts 18 USC 1521 (10 yr/120 mos. max.); not guilty on 2 counts

USSG Provision                              Court                  Prob.      USA        Def.

2A6.1 (a)(1)- BOL                           12                     12         12

2A6.1(b)(2)(B)- 2 “liens”                   NA                     NA         2
                                     only one lien per count

3A1.2(b)-official victim                   6                       6          6
                                     per 2A6.1, App. N. 2

3C1.1-Obstruct. or Impeding Prosecution
(in re faux suits against MJR & AUSA)      2 (or 2 x 2 = 4)    ___            ___
                                   see U.S. v Frederick James,
                                   328 F.3d 953, 956-57
                                   (7th Cir. 2003)

3D1.4-Combined Offense Level
(covers up to 5 units)                      5*                     5          5

Combined Adjusted Offense Level             25                    23          25
Crim. Hist. Cat. I                       (57-71)               (46-57)     (57-71)


*5K2.0(a)(3)- upward departure              3                      OK         OK
(see 5K2.0, App. N. 3(A))


Although acquitted on Counts 6 & 9, that conduct was proved by a preponderance of the
evidence and may be considered. See U.S. v. Johnson, 756 F.3d 532, 540 (7th Cir. 2014).
Consequently a total of 12 units must be accounted for; 3D1.4 accounts for only 5 units.


Total w/ Upward Departure               28 or 30                   ___        ___
Crim. Hist. Cat. I               (78-97) or (97-121**)
                                 (120 month stat. max.)


The above calculations do not include consideration of the potentially aggravating factors
referred to in pp. 22-24.
